Case 17-50857-wlh       Doc 43 Filed 08/03/20 Entered 08/03/20 08:38:26               Desc Main
                        UNITED Document
                               STATES BANKRUPTCY
                                            Page 1 of 4 COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                             )   CHAPTER 13
 BRIAN D LIVINGSTON                                 )   CASE NUMBER A17-50857-WLH
                                                    )
    DEBTOR                                          )



                                     MOTION TO DISMISS
     COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
 respectfully shows the Court as follows:

                                              1.

    Debtor filed a petition for relief under Chapter 13 of Title 11.

                                               2.

     Debtor's Plan will exceed sixty months by two (2) months in violation of 11 U.S.C. 1322(d)
 (2)(C) and 11 U.S.C. 1307(c).


                                               3.

     Debtor has failed to tender all plan payments due in accordance with the confirmed plan. As
 of 7/30/2020 the Trustee received a total of $19,200.00. The Trustee's records indicate the
 amount delinquent is $4,200.00. A receipt history is attached and marked exhibit A.


    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtor
 proposes a modification to meet the requirements of the confirmed plan that ensures that the
 plan is completed within the allowable time.

 This the 3rd day of August, 2020.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                                  EXHIBIT "A"



 CASE NO: A17-50857-WLH                                          07/30/2020
 BRIAN D LIVINGSTON

                 RECEIPT HISTORY OVER THE LAST 12 MONTHS

 DATE                   TYPE               SOURCE              AMOUNT

 January 16, 2020      EPAYPR          6487522000                   $600.00
 December 06, 2019     EPAYPR          6388244000                   $600.00
 November 12, 2019     EPAYPR          6322115000                   $600.00
 October 15, 2019      EPAYPR          6248925000                   $600.00
 September 10, 2019    EPAYPR          6166708000                   $600.00
 August 21, 2019       EPAYPR          6112174000                   $600.00

                                       Receipt Total:            $3,600.00
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                           )    CHAPTER 13
 BRIAN D LIVINGSTON                               )    CASE NUMBER A17-50857-WLH
                                                  )
    DEBTOR                                        )




                 NOTICE OF HEARING ON MOTION TO DISMISS CASE

 PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
 exhibits with the Court seeking an Order of Dismissal.

 PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on September 02,
 2020 at 10:10 am in Courtroom 1403, Richard Russell Building, 75 Ted Turner Drive,
 S.W., Atlanta, GA. 30303. Given the current public health crisis, hearings may be telephonic
 only. Please check the “Important Information Regarding Court Operations During COVID-19
 Outbreak" tab at the top of the GANB Website prior to the hearing for instructions on whether
 to appear in person or by phone.

 Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
 the dismissal of your case. You should read this motion carefully and discuss it with your
 attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
 and/or your attorney must attend the hearing unless you have settled the matter prior to the
 hearing.


 This the 3rd day of August, 2020.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                                 CERTIFICATE OF SERVICE
Case No: A17-50857-WLH

I certify that on this day I caused a copy of this Chapter 13 Trustee's Motion to Dismiss to be
served via United States First Class Mail with adequate postage prepaid on the following parties
at the address shown for each:




BRIAN D LIVINGSTON
2070 RESERVE PKWY
MCDONOUGH, GA 30253



I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program, which sends
a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

SLIPAKOFF & SLOMKA, PC




This the 3rd day of August, 2020.


 /s/____________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
